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PETITION UNDER 28 USC § 2254 FOR WRIT OF

Rev.
AO 244 (Rev. 585) HABEAS CORPUS BY A PERSON IN STATE CUSTODY

United States District Court ""

Name <——-—= ( —— Prisoner No. Case No.
AC. §

Place of Confinement

Mule Cree Stale Cereens

J ames. cay F-26532

Name of Petitioner (include name under which convicted) Name of Respondent (authorized person having custody of petitioner)

“James Mae key V. re level Subla, Warden

Attorney General of the State of:

PETITION

1. Name and location of court which entered the judgment of conviction under attack aw —Soa dural Saw Jl oaeu
County Supecr or C wart

2. Date of judgment / conviction {} fe > £2 gq

. Length of sentence Zz 5 vears f { Le

[
4. Nature of offense involved (all counts) THis 4 De, (ec. Viurole f, p Cc.
[97 y

eo

5. What was your plea? (Check one)
(a) Not guilty 7
(b) Guilty _
(c) Nolo contendere a
If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment, give details:

6. If you pleaded not guilty, what kind of trial did you have? (Check one)

(a) Jury
(b) Judge only

Lyi

7. Did you testify at the trial?
Yes No

8. Did you appeal from the judgment of conviction?
Yes — Now”

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9. If you did appeal, answer the following:

(a) Name of court -

(b) Result

(c) Date of result and citation, if known

(d) Grounds raised

(e) If you sought further review of the decision on appeal by a higher state court, please answer the following:

(1) Name of court

(2) Result

(3) Date of result and citation, if known

(4) Grounds raised

(f) If you filed a petition for certiorari in the United States Supreme Court, please answer the following with respect to each
direct appeal:

(1) Name of court

(2) Result

(3) Date of result and citation, if known

(4) Grounds raised

10. Other than a direct appeal from the judgment of conviction and sentence, have you previously filed any petitions,
applications, or motions with respect to this judgment in any court, state or federal?

Yes No —
11. If your answer to 10 was "yes," give the following

(B)°CF athe of court Qa “Joa guinl County Siupeci Clot Curt

(2) Nature of proceeding cas C, Cc ps c

ot

(3) Grounds raised 'Pleace See Thales foc a |

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(4) Did you receive an evidentiary hearing on your petition, application or motion?
Yes

No
(5) Result : Dep, eal

(6) Date of result M arch 9S 9 200 Ge

(b) As to any second petition, application or motion give the same information:

(1) Name of court Ca ; Locate Culreme Coact

(2) Nature of proceeding { ‘ ea s C or hus
i

(3) Grounds raised > t ow Ce Ze add ac, haeecv {

(4) Did you receive an evidentiary hearing on your petition, application or motion?

Yes — No —
(5) Result dene ol
(6) Date of result . Dece m be, ] 3, 2CO (

(c) Did you appeal to the highest state court having jurisdiction the result of action taken on any petition, application or

motion?
(1) First petition, ete. Yes No 5
(2) Second petition, Yes — Not)

(d) If you did not appeal from the adverse action on any petition, application or motion, explain briefly why you did not:

State concisely every ground on which you claim that you are being held unlawfully. Summarize briefly the facts
supporting each ground. If necessary, you may attach pages stating additional grounds and facts supporting same.

CAUTION: In order to proceed in the federal court, you must ordinarily first exhaust your available state court
remedies as to each ground on which you request action by the federal court. If you fail to set forth all grounds in this
petition, you may be barred from presenting additional grounds at a later date.

(4)

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For your information, the following is a list of the most frequently raised grounds for relief in habeas corpus
proceedings. Each statement preceded by a letter constitutes a separate ground for possible relief. You may raise any
grounds which you may have other than those listed if you have exhausted your state court remedies with respect to them.
However, you should raise in this petition all available grounds (relating to this conviction) on which you base your
allegations that you are being held in custody unlawfully.

Do not check any of these listed grounds. If you select one or more of these grounds for relief, you must allege facts. The

petition will be retumed to you if you merely check (a) through (j) or any one of these grounds.

(a) Conviction obtained by plea of guilty which was unlawfully induced or not made voluntarily with understanding of the
nature of the charge and the consequences of the plea.

(b) Conviction obtained by use of coerced confession.

(c) Conviction obtained by use of evidence gained pursuant to an unconstitutional search and seizure.

(d) Conviction obtained by use of evidence obtained pursuant to an unlawful arrest.

(e) Conviction obtained by a violation of the privilege against self-incrimination.

(f) Conviction obtained by the unconstitutional failure of the prosecution to disclose to the defendant evidence favorable to
the defendant.

(g) Conviction obtained by a violation of the protection against double jeopardy.

(h) Conviction obtained by action of a grand or petit jury which was unconstitutionally selected and impaneled.

(1) Denial of effective assistance of counsel.

(j) Denial of right Fag eal. ’
A. Ground one: =} { 4
» Grou ‘ | ivrase See at ac. hu ew

Supporting FACTS (state briefly without citing cases or law)

B. Ground two:

Supporting FACTS (state briefly without citing cases or law):

(5)

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C. Ground three:

Supporting FACTS (state briefly without citing cases or law):

D. Ground four:

Supporting FACTS (state briefly without citing cases or law):

13. If any of the grounds listed in 12A, B, C, and D were not previously presented in any other court, state or federal, state briefly
what grounds were not so presented, and give your reasons for not presenting them:

Yes — Noy

herein:
(a) At preliminary hearing

14. Do you have any petition or appeal now pending in any court, either state or federal, as to the judgment under attack?

15. Give the name and address, if known, of each attorney who represented you in the following stages of the judgment attacked

(b) At arraignment and plea 1 ns, | Pur L. Hey to ; 5s O ( Cou C {

‘Plazes BI 4 Xo | LH Street, Sacramento, CA 959 (4

(6)
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(c) At trial

(d) At sentencing tH aa dont Le, +2.

(e) On appeal

(f) In any post-conviction proceeding Len ami al \Namos WHOS Green back
Lawe 4-287 Citrus Herta bts, CA 95610

(g) On appeal from any adverse ruling in a post-conviction proceeding

_ Were you sentenced on more than one count of an indictment, or on more than one indictment, in the same court and at the
same time?
Yes — No ©
Do you have any future sentence to serve after you complete the sentence imposed by the judgment under attack?
Yes ~ No
(a) Ifso, give name and location of court which imposed sentence to be served in the future:
(b) Give date and length of the above sentence:
(c) Have you filed, or do you contemplate filing, any petition attacking the judgment which imposed the sentence to be
served in the future? ,
Yes - No ~~
Wherefore, petitioner prays that the Court grant petitioner relief to which he itled in this proceeding.
.

Born) Nba
Signfture of Attorney (if any)

7

I declare under penalty of perjury that the foregoing is true and correct. Executed

OlfoB/soy
pe)

Signature of Pefffioner

(7)
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Attorney for Petitioner
JAMES MACKEY, E-76532
Mule Creek State Prison
P.O. BOX 409040

Tone, CA 95640

IN THE SUPREME COURT
STATE OF CALIFORNIA

$1430 15

In re JAMES MACKEY, E-76532 Case No.: -
PETITION FOR WRIT OF
HABEAS CORPUS;
Petitioner, MEMORANDUM OF POINTS
AND AUTHORITIES IN
SUPPORT THEREOF
On Habeas Corpus.

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Petition for Writ of Habeas Corpus of James Mackey, Page 1 of 31

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I. INTRODUCTION

1. On June 1, 1989, Petitioner; James Mackey was placed under arrest for the

murder of Laurence Carnegie. (Exhibit A.)!

2. On October 16, 1989, Information number 45624 was filed in the
Municipal Court of San Joaquin County, Lodi Judicial Branch, charging petitioner,
James Mackey, with first degree murder. (Exhibits A, B.)

3. The facts of petitioner's case are set forth at pages one through twelve of
the Probation Officer's Report. (Exhibit A.)

4, On August 30, 1989, Petitioner signed a contract and written plea
agreement with the San Joaquin County District's Attorney’s office. On November 7,
1989, Petitioner pled no contest to the charge of first-degree murder and gave up his
constitutional rights in exchange for the District Attorney’s promise to write a letter
“personally” to the Parole Board and “recommend [petitioner’s] release at the earliest
possible time.” (Exhibit C.)

5. The contract and written plea agreement expressly stated that petitioner
would be required to give truthful testimony relative to the murder of Laurence
Carnegie and persons responsible. In exchange for petitioner’s full cooperation, the
District Attorney agreed personally to write a letter to the Board of Prison Terms (now
called Board of Parole Hearings) and or the California Department of Corrections
recommending that petitioner be released at the earliest possible time upon having

served the minimum sentence of first-degree murder. (Exhibit C.)

‘ All exhibits referred to in this petition and the accompanying memorandum and all
exhibits attached hereto are incorporated herein by reference. In Re Rosenkrantz, (2002) 29
Cal.4th 616 citing In re Serrano, (1995) 10 Cal.4th 447, 456; In re Fields, (1990) 51 Cal.3d 1063

1070, fn.

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6. During negotiations with the District Attorney regarding the above-alleged
plea agreement, petitioner alleges he received numerous assurances from his attorney,
Mr. Hamilton Hintz, that petitioner would be released from prison after serving 16
years eight months if he accepted the plea agreement and fulfilled its terms by
cooperating with the District Attorney's office. Mr. Hintz informed petitioner
unequivocally that if petitioner accepted the plea agreement, cooperated with the
District Attorney’s office, and was a model prisoner, petitioner would be granted parole
at his first parole hearing. Based on these representations from Mr. Hintz, petitioner
accepted the plea agreement and fulfilled its terms.

7. Petitioner alleges that Mr. Hintz’ assurances were based on the mistaken
assumption that a parole recommendation from the District Attorney's office would
carry enough weight to ensure that petitioner received parole at his initial parole
hearing. This assumption by both Mr. Hintz and petitioner was incorrect. The District
Attorney’s written recommendation carried no weight at petitioner's first parole
hearing, and petitioner was denied parole for a period of four (4) out of five (5) possible
years. Based on this mistaken assumption, petitioner requests that the court grant
rescission under Civil Code section 1689 or, alternatively, specific performance.

8. During plea negotiations with Mr. Phillips, the San Joaquin County

District Attorney, Mr. Phillips informed petitioner that his office worked closely with

the Board of Prison Terms, and a letter from the District Attorney’s office would carry
“great weight” with the Board. Mr. Phillips implied that his letter to the parole Board
would result in petitioner receiving parole at his first parole hearing after having served
the minimum prison term. Petitioner’s attorney, Mr. Hintz, assured him that the written
recommendation from the District Attorney’s office was a rare opportunity and that

petitioner should accept the deal offered by the District Attorney. Petitioner understood

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these express and implied assurances from his attorney and Mr. Phillips as
“guarantees” that his cooperation under the plea agreement coupled with the District
Attorney’s personal recommendation would result in his being granted parole at his
first parole hearing and released from prison. Petitioner further understood that it was
the intent of both the District Attorney and Mr. Hintz that petitioner would receive
parole at his first parole hearing in exchange for his cooperation. No representation,
implication or suggestion was made by Mr. Phillips or Mr. Hintz during plea
negotiations that petitioner might not receive parole at his first parole hearing and,
instead of being released on parole, would be required to remain incarcerated for
decades beyond his minimum eligible release date. Based on the failure of this
consideration, petitioner requests rescission under Civil Code section 1689.

9. Petitioner's objective expectation at the time he entered the contract and
plea agreement with the District Attorney’s office was that he would be granted parole
at his first parole hearing and subsequently released from prison. Based upon the
express and implied assurances from Mr. Hintz and Mr. Phillips alleged above,
petitioner waived his constitutional rights, accepted the plea agreement, entered a
contract with the San Joaquin County District Attorney’s office and cooperated fully
with the District Attorney’s office in the prosecution of Michael Blatt, who had been
charged in connection with the murder of Laurence Carnegie,

10. Petitioner has cooperated extensively with the District Attorney’s office,
testifying in both criminal prosecutions against Michael Blatt, and has completely
fulfilled his obligations under the contract and plea agreement. (Exhibit D.) Had
petitioner been aware at the time he entered his plea that the District Attorney's

personal recommendation would not be binding on the Board and would not have the

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weight represented by Mr. Phillips and Mr. Hintz, he would not have entered the
contract and plea agreement.

11. Petitioner alleges that his prior attorney who represented him during the
above-alleged plea negotiations, Mr. Hamilton Hintz, testified in both criminal
prosecutions against Michael Blatt regarding his representation of petitioner and the
nature of petitioner's contract and plea agreement with the District Attorney's office.
Petitioner has attempted to obtain copies of Mr. Hintz' testimony in both Blatt trials but
has been unsuccessful. Petitioner alleges that an evidentiary hearing may be necessary
to obtain testimony from Mr. Hintz and District Attorney John Phillips in regard to the
content of petitioner's plea negotiations.

12. Petitioner's minimum eligible parole date as determined by the contract
and written plea agreement was sixteen years and eight months. (Exhibit C, pg.2.)

13. On 11/20/90, petitioner, James Mackey E-76532, was received by the
Department of Corrections to begin serving a prison term of 25 years to-life in the
California Department of Corrections. (Exhibits K, L.)

14. _ Petitioner raises no challenges herein to the judgment of conviction
referenced above. Petitioner raises only contract claims and requests rescission or
specific performance as set forth herein.

15. On May 6, 2005, petitioner attended his initial parole consideration
hearing before the Board of Parole Hearings at Mule Creek State Prison in Ione,
California. The Board was provided with a copy of the written contract and plea
agreement and had or should have had knowledge of the terms thereof before
conducting the hearing. (See Exhibit E, Transcript pgs. 13-16, 76-77, 90-92, and 96-97.)
After consideration of the facts of the case, pre-commitment factors, post-commitment

factors, parole plans, the closing statements of counsel and adverse statements by the

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victim's family and the District Attorney's representative, the panel denied parole to
petitioner for four years. (Exhibit E, pgs. 124-136.) Based on the failure of this
consideration, petitioner requests rescission under Civil Code section 1689. Petitioner
alleges that because he was not granted parole at his initial parole consideration
hearing, he has been required to serve more than the "minimum" sentence and,

therefore, the consideration for the above alleged contract and plea agreement has

failed.

16. _—_ Petitioner alleges the San Joaquin County District Attorney’s
representative violated the contract and written plea agreement by claiming to remain
“neutral” yet making adverse statements during petitioner’s parole suitability hearing.
Specifically, the written contract and plea agreement expressly stated that District
Attorney John Phillips would personally recommend to the Board of Prison Terms
and/or the California Department of Corrections that petitioner be “released at the
earliest possible time” upon having served the “minimum sentence” for first-degree
murder. The District Attorney’s representative, however, Mr. Eual Blansett, failed to
abide by the promise of District Attorney John Phillips: He impeached petitioner’s
hearing testimony, thereby impliedly advocating against petitioner’s parole, and he
also informed the Board that it was in no way bound to honor petitioner’s written plea
agreement for early release (Exhibit E, Transcript pgs. 92-97.) thereby substantially
detracting from the weight and influence of the District Attorney’s personal
recommendation for early release. Had petitioner known that the District Attorney’s
office would send a representative to petitioner’s initial parole hearing who would
attempt to impeach petitioner’s hearing testimony and convince the Board that it was
not bound to honor petitioner’s plea agreement with the District Attorney’s office, nor
the District Attorney’s recommendation that petitioner receive “early release,” he

would not have entered the agreement or pled to the charges. For these reasons,

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petitioner alleges the San Joaquin County District Attorney’s office breached the written
contract and plea agreement, and that the essential consideration for the contract failed.
(Exhibit E, Transcript pgs. 92-97.) Based on the failure of this consideration, petitioner
requests rescission under Civil Code Section 1689.

17. On February 6, 2006, petitioner filed a habeas corpus petition in the San
Joaquin County Superior Court raising legal claims in connection with his above-
alleged plea bargain. The court denied the petition on March 8, 2006. (Exhibit N)

II. PARTIES

18. Petitioner, James Mackey E-76532 is a prisoner of the State of California
incarcerated at Mule Creek State Prison in Ione.

19. Respondent is the San Joaquin County District Attorney’s office.

20. Petitioner alleges the San Joaquin District Attorney’s office breached the
written contract and plea agreement alleged above in violation of petitioner's state and

federal due process rights.

II. PRAYER FOR RELIEF

Petitioner is without remedy save this Petition for Writ of Habeas Corpus and
requests the following relief either in whole or part as the Court deems appropriate.

WHEREFORE, petitioner prays that the Court:

(1) Declare the rights of the parties;

(2) Grant rescission or specific performance of the contract, ordering
petitioner's immediate release from prison based on time served;

(3) | Subpoena Mr. John Phillips and Mr. Hamilton Hintz for an evidentiary
hearing, if necessary;

(4) Any other relief the Court dee

Dated: Lf — 24, 2006 By:

Grow]
Benjamiyf Ramos, Attorney for
Petitioner, James Mackey

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IV.
STATEMENT OF FACTS

On February 28, 1989, Laurence Carnegie was murdered in San Joaquin County.
After an investigation, Petitioner and a co-defendant were arrested. It was the belief of
the San Joaquin County District Attorney that another person was the contractor for this
murder. However, there was not sufficient evidence to support that belief. (Exhibit D.)

Petitioner was offered a written contract and plea agreement, which was
accepted on August 30, 1989. The Court also accepted the written contract and plea
agreement. Petitioner would have proceeded to trial if this plea agreement had not
been offered. The contract and plea agreement in no uncertain terms provides that
petitioner:

[Glive truthful testimony relative to the murder of
Laurence Carnegie and as to the persons responsible,
in exchange for the opportunity to enter a plea of
guilty or no contest to murder in the first degree
without enhancements or special circumstances.

The agreement further provided that:

District Attorney, John Phillips, shall personally write
a letter to the Board of Prison Terms and/or the
Department of Corrections recommending that
petitioner be released at the earliest possible time
upon having served the minimum sentence for first
degree murder. (Exhibit C.)

The District Attorney’s obligations were clear: District Attorney John Phillips
agreed personally to recommend that petitioner be released from prison after serving
sixteen years and eight months, making petitioner’s minimum eligible parole date

January 29% of 2006. The Board's then executive officer, Mr. Patterson, also

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acknowledged this contract and plea agreement that was signed by the District
Attorney and signed by petitioner and his counsel.

On November 20, 1989, petitioner was sentenced to the California Department of
Corrections for the term of twenty-five to life. (Exhibit D)

Petitioner has cooperated with the San Joaquin County Sheriff’s Department and.
the District Attorney’s Office in connection with the prosecution of People v. Michael
Blatt, San Joaquin County Superior Court Information Number 46070, which resulted in
two jury trials. Because of Petitioner’s agreement to cooperate with law enforcement
and prosecutors in exchange for a plea to first degree murder without enhancements or
special circumstances and a recommendation for parole at the earliest possible time, the
District Attorney’s office was able to prosecute the person they believe to be morally
and legally responsible for the murder. Thus, petitioner honored the terms of the
written contract and plea agreement. (See Exhibit D, pg. 2.)

On May 6, 2005, petitioner attended his initial parole suitability hearing at Mule
Creek State prison in lone. Under the terms of the contract and written plea agreement,
the District Attorney was to recommend parole at the earliest possible time. (See
Exhibit C.) The Board was provided with a copy of the written contract and plea
agreement and had or should have had knowledge of the terms before conducting the
hearing. (See Exhibit E, Transcript pgs. 13-16, 76-77, 90-92, and 96-97.)

A letter dated November 1990, was sent to the Department of Corrections by
District Attorney John Phillips in an effort to satisfy the contract. (See Exhibit D.)
However, the District Attorney's office sent a representative to the parole suitability
hearing, Mr. Eual Blansett. Mr. Blansett effectively neutralized the support letter sent by
District Attorney Phillips by impeaching petitioner and making statements against
petitioner's interest in receiving parole, contrary to the terms of the plea agreement.

Rather than “recommending an early release” or even remaining neutral, the District

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Attorney's representative became an advocate against the Petitioner during his hearing.
Initially, the District Attorney’s representative stated:

I cannot and will not do anything to undermine the
letter that was sent to the Board. (Exhibit E,
Transcript pgs. 15-16.) [m]y job here is merely to be a
representative of the District Attorney’s office.
(Exhibit E, Transcript pg. 79.)

Later the District Attorney’s representative abandoned his role as a “mere
representative” and became an advocate against the Petitioner.

Mr. Commissioner, if I may just for a moment, I’m not
going to make any statement whatsoever contrary to
the negotiations that were reached between Mr. Hintz
and Mr. Phillips, but there are some
misrepresentation... One is that this was not a
contract that was meant to bind in any way any
commission regarding how they saw Mr. Mackey.
(Exhibit E pg. 92-93.)

This clarification by Mr. Blansett is directly contrary to petitioner’s
understanding of the contract and the expressed intent of District Attorney John
Phillips, as understood by petitioner. Moreover, it is puzzling how Mr. Blansett can
represent the District Attorney’s state of mind when Mr. Blansett was not a party to the
contract. (Exhibit C; Exhibit E at 79)

The representations made during plea negotiations by District Attorney Phillips
were that the letter would have enough weight to sway the parole board to grant parole
at the earliest opportunity. Petitioner was left with no doubt concerning the Board’s
response to the District Attorney’s letter: Parole would be granted. Petitioner did not
bargain for a non-binding, “advisory” recommendation that he hoped would be

followed. Petitioner understood and relied upon the express and implied

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representations that the District Attorney's letter would secure his “early release” upon

parole after having served the minimum term.

The District Attorney’s representative also gave a closing argument making
many assertions adverse to Petitioner.

Mr. Mackey did not turn himself in to authorities in
the sense that he found out they were investigating
him, and therefore, turned himself in. He was brought
in for questioning. He made a statement, initial
statement that implicated himself in the murder...
Mr. Mackey then agreed to cooperate with law
enforcement. And having a wire attached to his body,
he went in to Mr. Blatt’s office with the idea that he
was going to get Mr. Blatt to implicate himself in the
murder. But what Mr. Mackey did, unfortunately,
was to alert Mr. Blatt to the fact that he was
wired...He gave me a full statement of the entire case.
Mr. Mackey’s statement to me was that he went back
to the trunk. That he took the rope, and that he aided
in the strangulation of Larry Carnegie... But again,
that’s not in any way to go back on the deal that Mr.
Phillips made.

Had petitioner known that the District Attorney’s office would send a
representative to petitioner’s initial parole hearing who would attempt to impeach

petitioner's hearing testimony and convince the Board that it was not bound to honor

petitioner’s plea agreement for early release, nor the District Attorney’s

recommendation for the same, he would not entered the agreement or pled to the

charges.

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V.
VERIFICATION

L James Mackey E-76532, declare:
I am the petitioner in this action. I have read the foregoing petition for a writ of
habeas corpus and the facts stated therein are true of my own knowledge, except as to

matters that are therein stated on information and belief, and as to those matters I

believe them to be true.

I declare under penalty of perjury that the foregoing is true and correct and that

this declaration was executed at, ZL. AE California on Aeei /¥__, 2006.

| aw Whar
Heifone, James Mackyy
CDC# E-76532

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MEMORANDUM OF POINTS AND AUTHORITIES

A.
RELEASE ON PAROLE WAS A TERM BARGAINED FOR
BY PETITIONER AND DENIED BY THE BOARD;
THEREFORE, SPECIFIC PERFORMANCE IS THE
APPROPRIATE REMEDY.

The California Supreme Court follows precedent set by the U.S.
Supreme Court in Santobello v. New York, 404 U.S. 257 (1971) regarding
plea agreements. The California Supreme Court observed:

In vacating the judgment rendered by the trial court,
the Supreme Court held in Santobello that the plea-
negotiating process "must be attended by safeguards
to insure the defendant what is reasonably due in the
circumstances. Those circumstances will vary, but a
constant factor is that when a plea rests in any
significant degree on a promise or agreement of the
prosecutor, so that it can be said to be part of the
inducement or consideration, such promise must be
fulfilled. [{] On this record, petitioner ‘bargained’ and
negotiated for a particular plea in order to secure dismissal
of more serious charges, but also on condition that no
sentence recommendation would be made by the prosecutor.
It is now conceded that the promise to abstain from a
recommendation was made, and at this stage the
prosecution is not in a good position to argue that its
inadvertent breach of agreement is immaterial... ‘That
the breach of agreement was inadvertent does not
lessen its impact." (Santobello v. New York, supra, 404
USS. at p. 262 [30 L.Ed.2d at p. 433], italics added.)

In re Moser, 6 Cal.4® 342 (1993) at 355.
The U.S. Supreme Court additionally held in Santobello that a criminal defendant

has a due process right to enforce the terms of his plea agreement. See also Brown v.

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Poole, 337 F.3d 1155, 1159 (9th Cir. 2003) (“[The defendant's] due process rights
conferred by the federal constitution allow [him] to enforce the terms of the plea
agreement.”). The construction and interpretation of state court plea agreements “and
the concomitant obligations flowing therefrom are, within broad bounds of
reasonableness, matters of state law.” Ricketts v. Adamson, 483 U.S. 1, 6 n.3 (1987). In
California, “[a] negotiated plea agreement is a form of contract, and it is interpreted
according to general contract principles,” People v. Shelton, 37 Cal. 4th 759, 767 (2006),
and “according to the same rules as other contracts,” People v. Toscano, 124 Cal. App. 4th
340, 344 (2004) (cited with approval in Shelton along with other California cases to same
effect dating back to 1982). Thus, under Adamson, California courts are required to
construe and interpret plea agreements in accordance with state contract law.

In California, “[a]ll contracts, whether public or private, are to be interpreted by
the same rules... .” Cal. Civil Code §1635; see also Shelton, 37 Cal. 4th at 766-67; Toscano,
124 Cal. App. 4th at 344. A court must first look to the plain meaning of the agreement’s
language. Cal. Civil Code §§ 1638, 1644. If the language in the contract is ambiguous, “it
must be interpreted in the sense in which the promisor believed, at the time of making
it, that the promisee understood it.” Cal. Civil Code § 1649. The inquiry considers not the
subjective belief of the promisor but, rather, the “objectively reasonable” expectation of
the promisee. Bank of the West v. Superior Court, 2 Cal. 4th 1254, 1265 (1992); Badie v.
Bank of Am., 67 Cal. App. 4th 779, 802 n.9 (1998) (“Although the intent of the parties
determines the meaning of the contract, the relevant intent is objective — that is, the
objective intent as evidenced by the words of the instrument, not a party’s subjective
intent.” (internal quotation marks and citation omitted)). Courts look to the “objective
manifestations of the parties’ intent . . a” Shelton, 37 Cal. 4th at 767. If after this second

inquiry the ambiguity remains, “the language of a contract should be interpreted most

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strongly against the party who caused the uncertainty to exist.” Cal Civil Code § 1654; see
also Toscano, 124 Cal. App. 4th at 345 (“ambiguities [in a plea agreement] are construed
in favor of the defendant”). (2000). However, broken plea agreements do not require a
showing of predudice:

[I]n the context of a broken plea agreement, there is
more at stake than the liberty of the defendant or the
length of his term. "At stake is the honor of the
government[,] public confidence in the fair
administration of justice, and the efficient
administration of justice ...." ' [Citations.]"

In re Moser, 6 Cal.4 342 (1993) at 354, citing, People v. Walker, 54 Cal.3d 1013; 1
Cal.Rptr.2d 902 (1991). (emphasis added).

Petitioner alleges that his release on parole was a critical “inducement” and part
of the plea agreement. Although the contract indicated that , "[TjJhe actual release date
will be determined by the Board of PrisonTerms or its equivalent agency” (Exhibit C),
petitioner alleges it was understood and intended by the District Attorney that his
written recommendation would have sufficient weight to persuade the Board to grant
parole to petitioner at his first parole hearing and that the “actual release date” would
not necessarily be 16 years 8 months exactly, but as determined by the Board after
granting parole. In other words, petitioner alleges there was no doubt on the part of the
District Attorney, petitioner’s attorney or petitioner whether petitioner would be
granted parole with the support of the District Attorney's recommendation; the only
actual question was when petitioner's release would be scheduled, i.e., how close to his
minimum term of 16 years 8 months would petitioner be released? Thus, the essential
“inducement” offered by the District Attorney’s office was the expectation that the
District Attorney’s written support and recommendation for petitioner's early release
would be effective. As the Santobello court declared: “[W]hen a plea rests in any

significant degree on a promise or agreement of the prosecutor, so that it can be said to

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be part of the inducement or consideration, such promise must be fulfilled.” Santobello,
supra. The prosecutor’s promise, however, that his letter would carry “great weight”
and secure petitioner’s parole has not been fulfilled. Because the crucial, bargained-for
consideration failed, petitioner should be granted specific performance or, alternatively

the contract should be rescinded and petitioner sentenced to time served, as he has now

| served more than the minimum. term.

Petitioner submits the reasoning of In re Moser, 6 Cal.4'h 342 (1993) is on point:

[A]t oral argument, petitioner's counsel argued
that, even if the present record fails to indicate that
the term of parole constituted an element of the
parties’ plea agreement, petitioner's potential parole
term may have been discussed during plea
negotiations, and the prosecutor may have made
promises or inducements regarding the term of
parole. Counsel further argued that it would be
unfair simply to assume that no such discussions
occurred, when the People's argument in the superior
court appeared to concede that the three-year term of
parole was part of the parties’ plea agreement, and
petitioner never was put on notice as to the necessity
of introducing evidence directed to this issue.

Counsel's argument is well taken. "In most
cases an examination of the record will reveal the
truth or falsity of the petitioner's allegations, thus
obviating the need for an evidentiary hearing." (People
v. West, (1970) 3 Cal.3d 595, 611 [91 Cal.Rptr. 385].) In
light of the nature of the People's argument in the
superior court in response to the order to show cause,
however, we believe it would be inappropriate to
foreclose petitioner from presenting evidence relating
to whether the length of petitioner's term of parole
was an element of the plea negotiations. Under the
unusual circumstances presented by this case, we
conclude this question should be the subject of further

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proceedings on remand to the superior court. (See
Santobello v. New York, supra, 404 U.S. 257, 262 [30
L.Ed.2d 427, 433].)

In re Moser, 6 Cal.4" 342 (1993) at 357-58.

Petitioner has alleged repeatedly that he was assured by his attorney that the
District Attorney's recommendation would result in his receiving parole at his first
parole hearing. Additionally, Mr. Phillips, the District Attorney, also informed
petitioner that his letter would have "great weight" with the Board, implying that his
support would be adequate to persuade the Board to grant parole. It was clear to
petitioner that he was being told by both his attorney and the District Attorney, Mr.
Phillips, that he would be granted parole at his first parole hearing on the strength of
the District Attorney's written recommendation. Thus, “actual release” on parole was
an essential inducement that secured petitioner’s agreement to the contract. Because
petitioner was denied the benefit of this essential consideration, the court should grant

rescission and or specific performance and order petitioner's release on parole.

B.
THE CONTRACT WAS AMBIGUOUS CONCERING
A CRUCIAL ELEMENT; THEREFORE, IT MUST BE
INTERPRETATED AS UNDERSTOOD BY THE DISTRICT
ATTORNEY AND PETITIONER.

Under California law, a three-part analysis is required to interpret petitioner’s
contract: (1) A court must first look to the plain meaning of the agreement's language.
Cal. Civil Code §§ 1638, 1644. (2) If the language in the contract is ambiguous, “it must be
interpreted in the sense in which the promisor believed, at the time of making it, that
the promisee understood it.” Cal. Civil Code § 1649. (3) If after this second inquiry the

ambiguity remains, “the language of a contract should be interpreted most strongly

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against the party who caused the uncertainty to exist.” Cal Civil Code § 1654; see also
Toscano, 124 Cal. App. 4th at 345.

The superior court found no ambiguities in petitioner’s contract. (Exhibit N)
Paragraphs 6 of petitioner's contract, however, is ambiguous concerning time. It states,
“However, the actual release date will be determined by the Board of Prison Terms or
its equivalent agency." The phrase “actual release date” clearly suggests that
petitioner's release exactly on his minimum release date of 16 years 8 months was not
being guaranteed. Rather, the “actual” release date would be determined by the Board
or its equivalent agency. No time limit, however, is placed upon the Board or its
equivalent agency to make this determination. In light of the preceding language of
paragraph 6 stating that District Attorney John D. Phillips shall personally write a letter
to the Board of Prison Terms recommending that petitioner be released at the earliest
possible time upon having served the minimum sentence for first-degree murder, it is
unreasonable to conclude that the parties intended that the determination of petitioner’s
actual release date would remain open-ended for perhaps decades after petitioner's
minimum eligible release date. If the parties actually intended that that there would be
no limit on when the Board could determine petitioner's release date, the District
Attorney's recommendation for petitioner's earliest possible release would have been a
meaningless phrase that would have served no purpose. If the parties intended or
understood that the Board would retain petitioner for decades beyond his minimum
eligible release date, the contract likely would have specified that petitioner's actual
term of incarceration could exceed his minimum term by any number of years, decades,
or indefinitely. Believing and intending, however, that petitioner would be found
suitable for parole at his first parole suitability hearing with the support of the District

Attorney's office, it was unnecessary for the parties to include any such clarification in

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the contract concerning the actual amount of time in prison petitioner might serve. All
negotiating parties believed and intended petitioner would serve the minimum term or
a similar term as determined by the Board or its equivalent agency.

Because the contract is ambiguous concerning when the Board or its equivalent
agency must determine petitioner's actual release date, that term must be interpreted as
understood by the District Attorney and petitioner at the time the contract was entered.
Moser, Toscano, supra. The parties agreed and understood that petitioner would be
released after serving the minimum term consistent with the District Attorney's written

recommendation. Therefore, this expectation should now be enforced.

C.
THE DISTRICT ATTORNEY’S OFFICE BREACHED THE
PLEA BARGAIN.

When the state enters a plea bargain with a criminal defendant, it receives
immediate and tangible benefits, such as promptly imposed punishment without
expenditure of prosecutorial resources. (Newton v. Rumery, (1987) 480 U.S. 386, 394.) In
pleading guilty, petitioner waived inter alia: his privilege against self-incrimination; his
right to a jury trial; and his right to confront his accusers. “A plea agreement is
interpreted according to the same rules as other contracts, the terms of the contract
become fixed at the time made and subsequent interpretations of that contract must be
based on an objective standard in which Petitioner's reasonable beliefs controls. (People
v. Toscano, (2004) 124 Cal.App.4" 340.) An invalid or illusory concession offered by the
state constitutes a species of fraud. (In re Ibarra, (1983) 34 Cal.3d 277, 289.) The state thus
must “keep its word when it offers inducements in exchange for a plea of guilty.”
(People v. Macheno, (1982) 32 Cal.3d 855, 860.) The defendant must do so as well.

Consequently, after providing full cooperation to the District Attorney’s office,

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petitioner did not receive the substantive benefit of his contract and written plea
agreement.

The Supreme Court has recognized that due process applies not only to the
procedure of accepting the plea, but that the requirements of due process attach also to
the implementation of the bargain itself. A plea agreement is a contract; the
government is held to the literal terms of the agreement. (See Buckley v. Johnson, 187
F.3d 1129, 1134 (citing United States v. Baker, (9' Cir, 1994) 25 F.3d 1452, 1458) It follows,
when the prosecutor breaches its promise with respect to an executed plea agreement,
the defendant pleads guilty on a false premise. “When a plea rests in any significant
degree on a promise or agreement of the prosecutor, so that it can be said to be part of
the inducement or consideration, such promise must be fulfilled.” (Santobello v. New
York, (1971) 404 U.S. 257, 262, supra.)

According to the written contract and plea agreement, the District Attorney was
to “recommend petitioner’s release at the earliest possible time”. (Exhibit C.) The
District Attorney’s representative, however, made adverse statements during
petitioner’s parole consideration hearing, in violation of the written plea agreement.
(Exhibit E, pgs. 92-97.) The District Attorney's representative effectively retracted the
prior written recommendation for early release through various adverse statements
made during the hearing, effectively opposing petitioner’s parole. Because the District
Attorney’s representative did not “recommend early release” before the Board of Parole
Hearings, petitioner was denied the benefit of the bargain, a fair hearing and due
process of law. Buckley v. Terhune, No. 03-55045 September 27, 2005—San Francisco,
California Filed March 17, 2006 (9 Cir. 2006).

The plea agreement at issue specifically provided that the District Attorney’s
office would “recommend that petitioner be released at the earliest possible time”.

(Exhibit C.) Petitioner’s plea was induced by a promise the District Attorney’s

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representative failed to fulfill. The District Attorney’s representative made adverse
statements during the hearing and closing arguments and breached the written contract
and plea agreement. (Exhibit E, Transcript pgs. 92-97.) This attempt by the District
Attorney’s representative to influence the Board of Parole Hearings was conduct
contrary to the written terms of the contract and plea agreement. Implicit in any plea
bargain is that the state cannot with one hand give a benefit and with the other take it
away. The District Attorney's representative was also bound to the terms of the
contract. Mr. Blansett’s claim, however, that the contract was not intended to have any

binding effect on the Board is not supported by Mr. Phillip’s letter. (See also Exhibit E,

Transcript pg. 79; “I’ve never seen a copy of John Phillips letter. He didn’t give mea
copy at the time he wrote it...John Phillips is no longer the DA, but the current DA
gave authorization to attend.”.)

Clearly, the San Joaquin County District Attorney’s office breached the written
contract and plea agreement when Mr. Blansett claimed that the District Attorney's
office was remaining neutral (contrary to the written recommendation), then when Mr.
Blansett impeached petitioner's testimony, impliedly advocating against petitioner
rather than recommending his early release as agreed in writing, and clarifying that the
Board was not bound to honor petitioner's plea agreement for early release, even
though Mr. Blansett played no part in plea negotiations and could not possibly
represent Mr. Phillips intent concerning the plea agreement. (Exhibit E, Transcript at
79.)

Even if the breach were inadvertent it does not lessen its impact. (Santobello v.

New York, 404 U.S. 257, 262.) Because petitioner has fully complied with his obligations

under the contract and plea agreement to cooperate with the District Attorney's office,
petitioner should now receive the benefit of the bargain that was promised to him by

Mr. Hintz and impliedly recognized by Mr. Phillips. Because this essential

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consideration failed, the court should grant specific performance or rescission and order

petitioner’s release from prison.

D.
THE STATEMENTS OF THE DISTRICT ATTORNEY’S
REPRESENTATIVE VIOLATED THE IMPLIED
COVENANT OF GOOD FAITH AND FAIR DEALING.

The adverse statements given by the District Attorney’s representative were
arguably not made in good faith and were unfair in light of the written contract and
plea agreement. Because the comments of the District Attorney's representative did not
provide support for petitioner’s parole, the comments could have been made for only
one purpose: to influence the Board of Parole Hearings to deny parole. This attempt by
the District Attorney’s representative to influence the Board of Prison Terms adversely
was conduct specifically prohibited by the written plea agreement.

In common usage the term “good faith” is ordinarily used to describe a state of
mind denoting honesty of purpose, freedom from intention to defraud, and being

faithful to one’s duty or obligation. (Efron v. Kalmanovitz, 249 Cal.App.2d 187; see also

|| Black’s Law Dictionary, 6 edition pg. 693.) All contracts include an implied covenant of

good faith and fair dealing in performance and enforcement of contracts. ‘[I}n
California, the law implies in every contract a covenant of good faith and fair dealing’”];
Mitchell v. Exhibition Foods, Inc., (1986) 184 Cal.App.3d 1033, 1043; 229 Cal. Rptr. 535;
Spindle v. Travelers Ins. Companies, (1977) 66 Cal.App.3d 951, 959; 136 Cal.Rptr. 404] [the
evolvement of the doctrine of implied covenant of good faith and fair dealing is an
expression of public policy in our state”].) The covenant is also extra contractual; it “is
implied as a supplement to the express contractual covenants...”. (Waller v. Truck Ins.
Exchange, Inc., (1995) 11 Cal.4*1, 36.) Conditions implied by law are conditions imposed

by state law; they are not negotiated by the contracting parties.

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Petitioner’s written contract and plea agreement with the District Attorney’s
office is no exception to the public policy of this state that every contract contains an
implied covenant of good faith and fair dealing. Under this implied covenant of good
faith and fair dealing, petitioner reasonably could have expected that the District
Attorney would have provided unconditional support at petitioner's first parole
hearing, consistent with the District Attorney’s promise to write a letter and
recommend petitioner’s release at the earliest possible time. Petitioner did not receive
that support; instead, the District Attorney’s office became an advocate against
petitioner, impeached his testimony, suggested that the Board was not bound to honor
petitioner’s plea agreement and, therefore, the District Attorney’s office violated the
implied covenant of good faith and fair dealing.

The California Supreme Court has stated that, “a party violates the covenant if it
subjectively lacks belief in the validity of its act or if its conduct is objectively
unreasonable.” (Carma Dev., Inc. v. Marathon Dev., (1992) 2Cal.4"* 342.) For the District
Attorney’s representative to make adverse statements rather than recommend release at
the earliest possible time and then say “he wasn’t going back on the deal” is
unreasonable. (Exhibit E, Transcript pg. 96.) In light of the written contract and plea
agreement, the conduct of District Attorney's representative was unreasonable and
violated the implied covenant of good faith and fair dealing.

The primary contractual benefit petitioner expected in exchange for his
cooperation was early release, based upon the representations by his attorney and Mr.
John Phillips (the District Attorney) was that the District Attorney’s support would
carry enough weight with the parole Board to secure petitioner receiving “early
release.” In this effort, it would be essential to present a “united front” to the Board of
Parole Hearings. The obvious goal of petitioner’s plea agreement was to use the

influence and prestige of the District Attorney's personal recommendation to secure

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petitioner’s early release on parole. Presenting this “united front” to obtain an actual
release date was essential. Anything less than full, unconditional support from the
District Attorney's office could be construed by the Board as opposition to parole. As
argued exhaustively, any position by the District Attorney's office other than full
support for petitioner's parole violated the contract. (See U.S. v. Camarillo-Tello, (9" cir.
2001) 236 F.3d 1024, 1028.)

The District Attorney’s written recommendation for early release was undercut
both by its failure to support the recommendation presented at the hearing and by the
impeaching of petitioner’s testimony, adverse statements, and assertions that the Board

was not bound to honor petitioner’s plea agreement.

E.
PETITIONER’S DUE PROCESS RIGHTS WERE
VIOLATED WHEN THE PLEA AGREEMENT WAS
BREACHED.

Section 3041 of the California Penal Code creates in every inmate a cognizable
liberty interest in parole, which is protected by the procedural safeguards of the Due
Process clauses. (In re Rosenkrantz, 29 Cal.4" 616, 655-658.) Due process is flexible and
calls for such procedural protections as the particular situation demands. (Morrissey v.
Brewer, 408 U.S. 471, 481.) Because the District Attorney was bound to the terms of the
contract and written plea agreement, it was improper for the Board, an extension of the
courts, to allow the adverse statements as well. In addition, the Board of Parole
Hearings was likely prejudiced or unduly influenced against Petitioner resulting in his
denial of four years. Penal Code Section 3046 subdivision (c) states that the Board must
consider the statements and recommendations submitted by officials. (Exhibit F.)

It is of no consequence that the Board may not have construed the District
Attorney’s statements as comments against the recommendation of parole or that the

statements may have had no effect. The harmless error rule does not apply when the

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government breaches a plea agreement. (In re Moser, 6 Cal.4" 342 (1993) at 354, citing,
People v. Walker, 54 Cal.3d 1013; 1 Cal.Rptr.2d 902 (1991). U.S. v. Johnson, 187 F.3d 1129,
1135.) The integrity of our judicial system requires that the government strictly comply
with its obligations under a plea agreement. Accordingly, petitioner’s right to due
process was infringed when the District Attorney’s representative breached the terms of

the plea agreement. The court should rescind the contract or grant specific performance.

FE.
THE COURT SHOULD RESCIND THE CONTRACT
AND PLEA AGREEMENT.

Civil Code section 1689 provides:

(a) | A contract may be rescinded if all the parties
thereto consent.(b) A party to a contract may rescind
the contract in the following cases:

(1) If the consent of the party rescinding, or of any
party jointly contracting with him, was given by
mistake, or obtained through duress, menace, fraud,
or undue influence, exercised by or with the
connivance of the party as to whom he rescinds, or of
any other party to the contract jointly interested with
such party.

(2) _ If the consideration for the obligation of the
rescinding party fails, in whole or in part, through the
fault of the party as to whom he rescinds.

(3) If the consideration for the obligation of the
rescinding party becomes entirely void from any
cause.

(4) If the consideration for the obligation of the
rescinding party, before it is rendered to him, fails in
a material respect from any cause.

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(5) If the contract is unlawful for causes which do
not appear in its terms or conditions, and the parties
are not equally at fault.

(6) If the public interest will be prejudiced by
permitting the contract to stand.

(7) | Under the circumstances provided for in
Sections 39, 1533, 1566, 1785, 1789, 1930 and 2314 of
this code, Section 2470 of the Corporations Code,
Sections 331, 338, 359, 447, 1904 and 2030 of the
Insurance Code or any other statute providing for
rescission.

“ A factual mistake by one party to a contract, or unilateral mistake, affords a
ground for rescission in some circumstances.” Donovan v. RRL Corp., (2001) 26 Cal.4th
261, 278, fn. Omitted. In Donovan, the California Supreme Court explained that
California does not follow the “traditional rule” recited in the first Restatement of
Contracts, section 503, to the effect that “unilateral mistake did not render a contract
voidable unless the other party knew of or caused the mistake.” (Donovan, supra, 26
Cal.4th at p. 280.) Instead, the Donovan court applied the more expansive rule of Section
153 of the Restatement Second of Contracts allowing rescission due to unilateral
mistake where enforcement of the contract would be unconscionable. (Donovan, supra,
at p. 281.) In instances in which the other party was unaware of and did not cause the
mistake, the party claiming unilateral mistake must show that “(1) the . .. mistake [was
one] regarding a basic assumption upon which the [party claiming mistake] made the
contract; (2) the mistake has a material effect upon the agreed exchange of performances
that is adverse to the [party claiming mistake]; (3) the [party claiming mistake] does not
bear the risk of the mistake; and (4) the effect of the mistake is such that enforcement of

the contract would be unconscionable.” (Donovan, supra, at p. 282.) As to the third

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factor, both the Restatement Second of Contracts and Civil Code section 1577[28] note .
thatthe mistaken party’s “neglect of legal duty” will bar relief; however, ordinary
negligence does not constitute such “neglect of legal duty” that will preclude rescission.
(Donovan, supra, at p. 283; see also, M. F. Kemper Const. Co. v. City of L. A., (1951) 37 Cal.2d
696, 702.)

Applying the elements, (1) the... mistake [was one] regarding a basic
assumption upon which the [party claiming mistake] made the contract, i.e., petitioner
believed and assumed that the District Attorney's personal recommendation would
result in petitioner serving only the minimum term and being released on parole after
his initial parole consideration hearing, rather than spending a lifetime in prison; (2) the
mistake [had] a material effect upon the agreed exchange of performances that is
adverse to the [party claiming mistake]. Because the District Attorney's
recommendation carried no weight with the Board, petitioner will likely have to serve
many more years in prison, perhaps decades, before he is released, if ever; (3) the [party
claiming mistake] does not bear the risk of the mistake; petitioner cannot reasonably
bear the risk that the advice of the District Attorney himself and his own attorney
would be wrong; as a layman, petitioner would have no basis on which to dispute the
representations and legal advice provided by the District Attorney and his own
attorney and (4) the effect of the mistake is such that enforcement of the contract would
be unconscionable; the District Attorney's personal recommendation has already been
demonstrated to have no weight. Petitioner was denied parole for four out of five
possible years, despite the District Attorney's letter recommending early release.
Therefore, it is obvious that enforcing the contract based on the mistaken assumption of

all parties that the District Attorney's recommendation would secure petitioner's early

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release on parole will result in the exact consequences petitioner was attempting to
avoid by agreeing to the contract in the first place—a life term in prison. At the very
least, it can be shown that petitioner's stay in prison has been extended by at least four
years more than the minimum term. This result is unconscionable in light of
petitioner's extensive cooperation with the District Attorney’s office in the two criminal
prosecutions of Michael Blatt. Thus, petitioner has shown prejudice and an
“unconscionable” result from enforcing the contract as is.

Moreover, the consideration for the contract failed as well. For petitioner, the
actual benefit bargained for and assured was release after serving the minimum term.
This failed to occur and petitioner has now served more than the minimum term.
Therefore, under subsections (a)(2), (3), and (4), the consideration for which petitioner
bargained failed, and the court should rescind the contract. There is no question that
the beliefs of petitioner's Attorney and District Attorney John Phillips were mistaken in
two fundamental respects: (1) the weight that the DA’s letter would carry with the
Board, and (2) the belief that petitioner would be released after having served the
minimum term based upon the personal recommendation of the San Joaquin County
District Attorney. The recommendations from the District Attorney's office or the actual
District Attorney, however, are not binding on the Board of Parole Hearings and have
only as much weight as the Board grants. In petitioner's case, the Board obviously
accorded no weight to the District Attorney's recommendation. The Board denied
parole for four years, one year short of the maximum denial period of five years, and
failed to mention petitioner’s contract with the District Attorney’s office or his
testimony when citing mitigating factors. Had petitioner been aware at the time he
entered his plea that the District Attorney's personal recommendation would not be
binding on the Board and would not have the weight represented by Mr. Phillips and
Mr. Hintz, he would not have entered the contract and plea agreement. Furthermore,

contract consideration failed when the District Attorney’s representative violated the

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written contract and plea agreement between the petitioner and the San Joaquin County

District Attorneys office. Accordingly, rescission based on breach contract (i.e., failure of

consideration) is appropriate.

Petitioner claims he was denied the primary benefit of his bargaining —actual
release. Although petitioner’s contract and plea agreement do not expressly state that
petitioner would unconditionally be released after serving the minimum term,
petitioner has alleged that express and implied assurances were made to him that the
District Attorney’s personal written recommendation would ensure that petitioner
would be granted parole and released from prison after serving the minimum term.
This was the “bait” used to secure petitioner’s consent to the plea bargain and
cooperation in the prosecution of Michael Blatt. One might ask rhetorically, if petitioner
had not been assured that Mr. Phillips’s letter would carry great weight with the Board
and secure his early release, what benefit would petitioner have received from a merely
advisory, nonbinding recommendation to the parole board? Would petitioner have
waived his right to a jury trial and agreed to cooperate with the prosecution in the two
trials of Michael Blatt in exchange for a recommendation that had no binding legal
effect concerning petitioner’s “early release” from prison? To believe this would require
one to believe that Mr. Mackey agreed to waive his rights and testify against a
codefendant with no real assurances that the District Attorney’s “personal
recommendation” would be of any benefit or influence with the parole board. It is
simply inconceivable to think that under petitioner’s written contract and plea
agreement there was not a clearly implied expectation that petitioner would actually be
released after serving the minimum term based on the weight of the District Attorney’s
recommendation. Otherwise, there was no need to reduce this term to writing.
Accordingly, because petitioner has fully fulfilled his obligations under the plea

agreement, he is entitled to the promised benefit.

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VI.
CONCLUSION

For all of the foregoing reasons, petitioner requests that the court grant the

following relief and any additional relief the court deems appropriate:

(1) Declare the rights of the parties;

(2) Determine whether a breach of the contract and written plea agreement
occurred;

(3) Grant rescission of the contract under Civil Code Section 1689, or specific
performance, ordering petitioner's immediate release from prison based
on time served;

(4) | Subpoena Mr. John Phillips and Mr. Hamilton Hintz for an evidentiary
hearing, if necessary;

(5) Any other relief the Court deems just and proper

Respectfully submitted,

Dated S7~ ZF _, 2006 By: Lier Ylnn
, Benjamin ifmos Attorney for
Petitioner, James Mackey

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Exhibit A
Exhibit B
Exhibit C

Exhibit D

Exhibit E

Exhibit F
Exhibit G
Exhibit H

Exhibit I
Exhibit J
Exhibit K
Exhibit L.
Exhibit M

Exhibit N

LIST OF EXHIBITS

Probation Officer’s Report dated November 2, 1990.

Information #45624 filed on October 16, 1989.

Contract and Terms of the Contract between Petitioner and District
Attorney John Phillips dated August 30, 1989.

Letter dated November 20, 1990, from District Attorney John
Phillips to the Department of Corrections.

Transcript dated May 6, 2005 the Initial Parole Consideration
Hearing of Petitioner, James Mackey.

California Penal Code §3046

Petitioner James Mackey’s Psychiatric Reports.

Petitioner James Mackey’s Post -Conviction Progress Reports and
Lifer Prisoner Evaluation.

Petitioner James Mackey’s Laudatory Chronos.

Petitioner James Mackey’s Support Letters.

Abstract of Judgment.

Statement for Prison Officials dated February 22, 1991.

Petitioner James Mackey’s Vocational, Educational and Self-Help
Program Certificates.

San Joaquin Superior Court Order Denying Habeas Corpus Petition

March 8, 2006

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ATTACHMENT TO FEDERAL HABEAS CORPUS PETITION OF

JAMES MACKEY
I. AEDPA STANDARDS
Under AEDPA, a court may grant the petition only if the state court's denial of
relief:

(1) resulted in a decision that was either "contrary to," or was an
"unreasonable application" of, "clearly established federal law" as set

forth by the United States Supreme Court; or

(2) was based on an "unreasonable determination" of the facts in light

of the evidence presented in the State court proceeding.

28 U.S.C. § 2254(d).

Because the California Supreme Court summarily dismissed petitioner's habeas
petition, the federal district courts "look through" that dismissal and review the "last
reasoned" state court decision. Bailey v. Rae, 339 F.3d 1107, 1112 (9th Cir. 2003)
(citation omitted). The last reasoned decision in this case is from the San Joaquin County
Superior Court, dated March 6, 2006, denying petitioner’s habeas corpus petition.

The "contrary to" and "unreasonable application of" clauses of § 2254(d) (1)
provide independent avenues of relief. Clark, 331 F.3d at 1067. The "contrary to" clause
of § 2254(d) (1) provides relief if the state court "failfed] to apply the correct controlling
authority, or if it applie[d] the controlling authority to a case involving facts materially
indistinguishable from those in a controlling case, but nonetheless reache[d] a different
result." Jd. (citation omitted). Under the "unreasonable application" clause of § 2254(d)
(1), relief may be granted if the state court "identifie[d] the correct governing legal

principle but unreasonably applie[d] that principle to the facts ..." /d. (citation and

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alteration omitted).

Even if the state court's decision was contrary to, or an unreasonable application
of, clearly established federal law, habeas relief may still be denied absent a showing of
prejudice. See, Early v. Packer, 537 U.S. 3, 10-11, 123 S.Ct. 362, 154 L.Ed.2d 263
(2002) (per curiam).

The starting point for review under AEDPA was stated succinctly by the 9th

Circuit in Inthavong v. Lamarque, 420 F.3d 1055 (9th Cir. 2005):

To grant relief where a state court has determined
that a constitutional error was harmless, we must
both determine (1) that the state court's decision
was "contrary to" or an "unreasonable application"
of Supreme Court harmless error precedent, and (2)
that the petitioner suffered prejudice under Brecht
from the constitutional error.

In following this two-part harmless error test, we
are joined by the Tenth, the Seventh, and the Fourth
Circuits. The Tenth Circuit has instructed that "if
the district court concludes the [state] court's
application of Chapman was objectively
unreasonable, the court should engage in an
independent harmless error analysis applying the
standard articulated in Brecht.’ Saiz v. Burnett, 296
F.3d 1008, 1012-13 (10th Cir. 2002) (internal
citation omitted); see also Cargle v. Mullin, 317
F.3d 1196, 1220, 1224 (10th Cir. 2003) ("If the state
courts did not address a harmless-error issue (or did
so under the wrong standard), we apply the
standard generally adopted for habeas purposes in
Brecht v. Abrahamson." (internal citation omitted)
(emphasis added)).

Additionally,

[I]f a federal court applies a harmless error analysis
in the first instance, the Brechi standard governs.
See Bains v. Cambra, 204 F.3d 964, 977 (9th Cir.
2000) (applying Brecht when the state court decided
the case under the wrong harmless error standard or
failed to apply a harmless error analysis entirely).

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Because the state court in this case conducted a
harmless error analysis, we are guided by the
approach endorsed by the Supreme Court in
Esparza, first deciding whether the state court's
harmless error analysis is objectively unreasonable
and, if so, applying Brecht.

Therefore, pursuant to Mitchell v. Esparza,..we hold
that if a state court disposes of a constitutional error
as harmless under an appropriate standard of
review, federal courts must, for the purpose of the
"unreasonable application” clause of § 2254(d)(1),
first determine whether the state court's harmless
error analysis was objectively unreasonable. Only if
there is a predicate finding that the state court's
harmless error analysis was objectively
unreasonable, and thus an unreasonable application
of clearly established federal law, should federal
courts engage in a Brecht analysis.

Medina v. Hornung, 372 F.3d 1120 (th Cir. 2004) at 1126.

A.

Ul. ANALYSIS
THE SUPERIOR COURT’S ORDER WAS

OBJECTIVELY UNREASONABLE.

The superior court failed to analyze petitioner’s claims under federal law. Instead,

the superior court esse

contract occurred. But

ntially held that any error was harmless or that no breach of

the harmless error rule does not apply when the

government breaches a plea agreement. (In re Moser, 6 Cal.4" 342 (1993) at 354,

citing, People v. Walker, 54 Cal.3d 1013; 1 Cal.Rptr.2d 902 (1991). U.S. v. Johnson,

187 F.3d 1129, 1135.)

The California

Supreme Court follows precedent set by the U.S. Supreme Court

in Santobello v. New York, 404 U.S. 257 (1971) regarding plea agreements. The

California Supreme Court observed:

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In vacating the judgment rendered by the trial court,
the Supreme Court held in Santobello that the plea-
negotiating process "must be attended by safeguards
to insure the defendant what is reasonably due in
the circumstances. Those circumstances will vary,
but a constant factor is that when a plea rests in any
significant degree on a promise or agreement of the
prosecutor, so that it can be said to be part of the
inducement or consideration, such promise must be
fulfilled. [J] On this record, petitioner ‘bargained!
and negotiated for a particular plea in order to
secure dismissal of more serious charges, but also
on condition that no sentence recommendation
would be made by the prosecutor. It is now
conceded that the promise to abstain from a
recommendation was made, and at this stage the
prosecution is not in a good position to argue that its
inadvertent breach of agreement is immaterial...
That the breach of agreement was inadvertent does
not lessen its impact." (Santobello v. New York,
supra, 404 U.S. at p. 262 [30 L.Ed.2d at p. 433],
italics added.)

In re Moser, 6 Cal.4" 342 (1993) at 355.
The U.S. Supreme Court additionally held in Santobello that a criminal defendant

has a due process right to enforce the terms of his plea agreement. See also Brown v.
Poole, 337 F.3d 1155, 1159 (9th Cir. 2003) (“[The defendant’s] due process rights
conferred by the federal constitution allow [him] to enforce the terms of the plea
agreement.”). The construction and interpretation of state court plea agreements “and the
concomitant obligations flowing therefrom are, within broad bounds of reasonableness,
matters of state law.” Ricketts v. Adamson, 483 U.S. 1, 6 n.3 (1987). In California, “[a]
negotiated plea agreement is a form of contract, and it is interpreted according to general
contract principles,” People v. Shelton, 37 Cal. 4th 759, 767 (2006), and “according to the
same rules as other contracts,” People v. Toscano, 124 Cal. App. 4th 340, 344 (2004)

(cited with approval in Shelton along with other California cases to same effect dating

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back to 1982). Thus, under Adamson, California courts are required to construe and
interpret plea agreements in accordance with state contract law. The superior court failed
to analyze petitioner’s contract under California law and, therefore, its order was
objectively unreasonable.

In California, “[a]ll contracts, whether public or private, are to be interpreted by
the same rules... .” Cal. Civil Code §1635; see also Shelton, 37 Cal. 4th at 766-67;
Toscano, 124 Cal. App. 4th at 344. A court must first look to the plain meaning of the
agreement’s language. Cal. Civil Code §§ 1638, 1644. If the language in the contract is
ambiguous, “it must be interpreted in the sense in which the promisor believed, at the
time of making it, that the promisee understood it.” Cal. Civil Code § 1649. The inquiry
considers not the subjective belief of the promisor but, rather, the “objectively
reasonable” expectation of the promisee. Bank of the West v. Superior Court, 2 Cal. 4th
1254, 1265 (1992); Badie v. Bank of Am., 67 Cal. App. 4th 779, 802 n.9 (1998)
(“Although the intent of the parties determines the meaning of the contract, the relevant
intent is objective—that is, the objective intent as evidenced by the words of the
instrument, not a party’s subjective intent.” (internal quotation marks and citation
omitted)). Courts look to the “objective manifestations of the parties’ intent... .”
Shelton, 37 Cal. 4th at 767. If after this second inquiry the ambiguity remains, “the
language of a contract should be interpreted most strongly against the party who caused
the uncertainty to exist.” Cal Civil Code § 1654; see also Toscano, 124 Cal. App. 4th at
345 (“ambiguities [in a plea agreement] are construed in favor of the defendant”). (2000).
However, broken plea agreements do not require a showing of predudice:

[I]n the context of a broken plea agreement, there
is more at stake than the liberty of the defendant or

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the length of his term. "At stake is the honor of the
government[,] public confidence in the fair
administration of justice, and the efficient
administration of justice ...."' [Citations.]"

Inre Moser, 6 Cal.4" 342 (1993) at 354, citing, People v. Walker, 54 Cal.3d
1013; 1 Cal.Rptr.2d 902 (1991). (emphasis added).

Under California law, a three-part analysis is required to interpret petitioner’s
contract: (1) A court must first look to the plain meaning of the agreement’s language.
Cal. Civil Code §§ 1638, 1644. (2) If the language in the contract is ambiguous, “it must
be interpreted in the sense in which the promisor believed, at the time of making it, that
the promisee understood it.” Cal. Civil Code § 1649. (3) If after this second inquiry the
ambiguity remains, “the language of a contract should be interpreted most strongly
against the party who caused the uncertainty to exist.” Cal Civil Code § 1654; see also
Toscano, 124 Cal. App. 4th at 345.

The superior court found no ambiguities in petitioner’s contract. (Exhibit N)
Paragraph 6 of petitioner's contract, however, is ambiguous concerning time. It states,
“However, the actual release date will be determined by the Board of Prison Terms or its
equivalent agency." The phrase “actual release date” clearly suggests that petitioner’s
release exactly on his minimum release date of 16 years 8 months was not being
guaranteed. Rather, the “actual” release date would be determined by the Board or its
equivalent agency. No time limit, however, is placed upon the Board or its equivalent
agency to make this determination. In light of the preceding language of paragraph 6
stating that District Attorney John D. Phillips shall personally write a letter to the Board
of Prison Terms recommending that petitioner be released at the earliest possible time

upon having served the minimum sentence for first-degree murder, it is unreasonable to

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conclude that the parties intended that the determination of petitioner’s actual release date
would remain open-ended for perhaps decades after petitioner's minimum eligible release
date. If the parties actually intended that that there would be no limit on when the Board
could determine petitioner's release date, the District Attorney's recommendation for
petitioner's earliest possible release would have been a meaningless phrase that would
have served no purpose. If the parties intended or understood that the Board would retain
petitioner for decades beyond his minimum eligible release date, the contract likely
would have specified that petitioner's actual term of incarceration could exceed his
minimum term by any number of years, decades, or indefinitely. Believing and intending,
however, that petitioner would be found suitable for parole at his first parole suitability
hearing with the support of the District Attorney's office, it was unnecessary for the
parties to include any such clarification in the contract concerning the actual amount of
time in prison petitioner might serve. All negotiating parties believed and intended
petitioner would serve the minimum term or a similar term as determined by the Board or
its equivalent agency.

Because the contract is ambiguous concerning when the Board or its equivalent
agency must determine petitioner's actual release date, that term must be interpreted as
understood by the District Attorney and petitioner at the time the contract was entered.
Moser, Toscano, supra. The parties agreed and understood that petitioner would be
released after serving the minimum term consistent with the District Attorney's written
recommendation. Therefore, because the superior court failed to engage in this analysis
concerning the contract ambiguity relative to time, the superior court’s order was

objectively unreasonable.

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B THE SUPERIOR COURT’S ORDER WAS “CONTRARY TO”

FEDERAL LAW. »
The "contrary to" clause of § 2254(d) (1) provides relief if the state

court "fail[ed] to apply the correct controlling authority, or if it applie[d]
the controlling authority to a case involving facts materially
indistinguishable from those in a controlling case, but nonetheless
reache[d] a different result." /d. (citation omitted). Here the superior court
failed to apply Santobello v. New York, 404 U.S. 257 (1971), as required
by California law. In re Moser, 6 Cal.4" 342 (1993) at 355. Having failed
to apply the correct law, the superior court’s order was “contrary to”

federal law.

For all the foregoing reasons, petitioner requests that the petition be granted.

Dated: / , 2007 vB

Benjamin Jf: amos, Attorney for
Petitioner, James Mackey

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